       Case 2:08-cr-00449-WBS Document 148 Filed 06/20/12 Page 1 of 5


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 5   ATTORNEY FOR DEFENDANT
     TIEN THE LE
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                       EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,      )              CR.-S-NO.-08-449-03 WBS
                                    )
13        PLAINTIFF,                )
                                    )              STIPULATION AND (PROPOSED)
14        v.                        )              ORDER TO CONTINUE THE STATUS
                                    )              CONFERENCE TO MONDAY,
15   TIEN THE LE, et al.,           )              AUGUST 27, 2012, EXCLUDING
                                    )              TIME UNDER THE SPEEDY TRIAL
16                                  )              ACT (T-4)
          DEFENDANTS.               )
17   ______________________________)
18
           Plaintiff, the United States by Assistant United States Attorney, Mr. Heiko
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     Coppola, and defendant Tien The Le by his attorney James R. Greiner, all stipulate
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     and agree that the status conference calendared for Monday, June 25, 2012, at 9:30
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     a.m. before the Honorable Senior United States District Court Judge, William B.
22
     Shubb, may be continued to Monday, August 27, 2012, at 9:30 a.m. The Court’s
23
     availability on this date, August 27, 2012, has been confirmed.
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                                     BACKGROUND
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           On June 4, 2012, the Court appointed present defense counsel, James R.
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     Greiner, after prior counsel had moved to withdraw from the case two (2) weeks prior
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     to the scheduled commencement of the jury trial.
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        Case 2:08-cr-00449-WBS Document 148 Filed 06/20/12 Page 2 of 5


 1          Since the appointment, defense counsel has accomplished the following:
 2                 1- On Friday, June 15, 2012, the defense obtained over 10,000 pages of
 3                 discovery from the government, prior attempts were made to obtain the
 4                 discovery from prior defense counsel but all attempts failed;
 5                 2- Defense counsel, the interpreter and defendant met for over 1 and a
 6                 half hours on Monday, June 11, 2012.
 7          Defense counsel is now reviewing the over 10,000 pages of discovery. Defense
 8   counsel is mindful that the Court wants this case to move to resolution. Defense
 9   counsel has moved with urgency since appointed and will continue to do so. Defense
10   counsel suggests to the Court that allowing a continuance to August 27, 2012, will
11   accomplish the following: 1- It will give defense counsel an opportunity to continue
12   to review the over 10,000 pages of discovery; 2- It will allow defense counsel an
13   opportunity to meet with the defendant and discuss the options of resolving this case
14   by either plea agreement or trial; 3- It will give defense counsel an opportunity to
15   discuss with the defendant the Advisory Sentencing Guidelines in order for the
16   defendant to make an informed voluntary decision on how to resolve this case; 4- It
17   will give defense counsel an opportunity to explore with the government avenues of
18   resolution short of trial. Defense counsel is mindful of that this Court is one of the
19   busiest Court’s in the United States, and with that, defense counsel is attempting to
20   utilize this Court’s valuable resources in the most effective way possible. Defense
21   counsel suggests that allowing the case to continue to August 27, 2012, avenues of
22   potential resolution can be reasonably and effectively explored, and should those fail,
23   a realistic trial date can be set. Defense counsel is attempting to save the Court
24   resources in attempting to explore all possible resolutions short of trial. Although
25   defense counsel is mindful that attempting to resolve the case will expend resources
26   and time, if resolution can be achieved, then a cost and resource savings for the Court
27   has been achieved. If a resolution is not obtainable, then the record is clear and a
28   realistic trial date can be set.

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       Case 2:08-cr-00449-WBS Document 148 Filed 06/20/12 Page 3 of 5


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 2                The parties agree and stipulate that this continuance is reasonable taking
 3   into account the exercise of due diligence by all counsel.
 4         The parties agree and stipulate that due to all of the facts stated herein,
 5   including the over 10,000 pages of discovery that needs review and investigation, the
 6   legal research into the complex Advisory Sentencing Guidelines that counsel needs to
 7   do, allowing defense counsel an opportunity to reasonably meet and confer with the
 8   defendant and the interpreter in discussing the entire case and the Advisory
 9   Sentencing Guidelines, the parties stipulate and agree that this Court should order
10   time under the Speedy Trial Act continue to be excluded from Monday, June 25,
11   2012, up to and including Monday, August 27, 2012, under the Speedy Trial Act for
12   case for defense counsel preparation in this case, and that all counsel for all parties
13   stipulate that the ends of justice are served by the Court excluding such time, so that
14   defense counsel for the defendant may have reasonable time necessary for effective
15   preparation, taking into account the exercise of due diligence, 18U.S.C. section
16   3161(h)(7)(B)(iv), and therefore time should also be excluded under 18 U.S.C.
17   section 3161(h)(7)(A) and Local Code T-4.
18         Further, all parties agree and stipulate that the Court in making these factual
19   findings supports the Court’s finding that in this case the ends of justice are served
20   by this continuance and outweigh both the public’s right to a speedy trial in this case
21   and each defendant’s right to a speedy trial in this case.
22                                    Respectfully submitted,
                                      BENJAMIN B. WAGNER
23                                    UNITED STATES ATTORNEY
24   DATED: 6-20-12                   /s/ HEIKO COPPOLA (via e mail approval)
                                     _____________________________________
25                                    HEIKO COPPOLA,
                                      ASSISTANT UNITED STATES ATTORNEY
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27   DATED: 6-20-12                   /s/ JAMES R. GREINER
                                      _______________________________________
28                                    James R. Greiner
                                      Attorney for Defendant

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       Case 2:08-cr-00449-WBS Document 148 Filed 06/20/12 Page 4 of 5


 1                                     TIEN THE LE
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                                          ORDER
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 4   THE COURT MAKES THE FOLLOWING FINDINGS:
 5         The Court finds that the ends of justice in this case outweighs both the public’s
 6   right to a speedy trial in this case and the defendant’s right to a speedy trial in this
 7   case based on the following facts:
 8         1- Defense counsel is continuing to review the discovery in this case,
 9         continuing to have discussions with his client about the facts of the case and
10         the discovery in the case, defense counsel is still investigating the case based
11         on the discovery and the conferences with his client, so that counsel for the
12         defendant may have reasonable time necessary for effective preparation, taking
13         into account the exercise of due diligence;
14         2- Defense counsel is doing legal research into the advisory Sentencing
15         Guidelines as it may apply to the defendant’s facts in this case so as to
16         adequately advise and counsel his client;
17         3- The discovery in this case is consists to date of over 10,000 pages produced
18         by the government on Friday, June 15, 2012, after;
19         4- defense counsel is actively engaged in conferences with the defendant
20         regarding all aspects of this case and the time requested is reasonable to allow
21         this process to continue exercising due diligence by counsel;
22         5- the additional time will allow for reasonable plea negotiations in a good
23         faith attempt to resolve this case short of trial;
24         6- Based on the facts of this individual case the time requested is reasonable in
25         light of the exercise of due diligence by counsel;
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       Case 2:08-cr-00449-WBS Document 148 Filed 06/20/12 Page 5 of 5


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 2         Therefore, based on the Court’s findings and the parties agreements and
 3   stipulations as set forth herein and supported by the findings of facts in this case as
 4   set forth herein, time is excluded under the Speedy Trial Act from Monday, June 25,
 5   2012 to and including, Monday, August 27, 2012, under the Speedy Trial Act under
 6   Local Code T-4 (time for defense counsel preparation) and Title 18 U.S.C. section
 7   3161(h)(7)(B)(iv).
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 9         IT IS SO ORDERED.
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     DATED: June 20, 2012
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